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        CIVIL CAUSE FOR SETTLEMENT CONFERENCE

BEFORE: JOAN M. AZRACK, U.S.D.J.
DATE: 12/7/2018      TIME: 11:30 AM                        TIME IN COURT: 1.5 hrs

CASE: 18-cv-04891-JMA-GRB Frias v. Strategic Realty Fund, LLC et. al.

APPEARANCES:         For Plaintiff: Alex Kadochnikov, Mark Anderson

                     For Defendant: Crystal Pannell, Alan Weinreb for Margolin and Weinreb
                                   Law Group
                                    Ronald Cook for Strategic Realty

FTR: 11:47-48; 12:56-12:58

☒     Case called.
☒     Counsel present for all sides.
☐     Briefing schedule set.
              Moving papers served by:
              Response:
              Reply:
              • Moving party is responsible for filing the fully briefed motion on ECF and
                  providing courtesy copies to Chambers.
☐     Case to be referred to the Magistrate Judge for
☐     Jury selection and trial scheduled for
☐     Next conference scheduled for
☒     Other: Case settled. Counsel for the plaintiff shall submit a stipulation of discontinuance
      by 1/11/2019.
